          Case: 1:24-cv-01864-DAR Doc #: 8 Filed: 01/29/25 1 of 1. PageID #: 33




IT IS SO ORDERED.
s/David A. Ruiz
U.S. District Judge
1/29/2025

                          IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

    Progressive Specialty Insurance Company        CASE NO.: 1:24-cv-001864

           Plaintiff                               HONORABLE JUDGE DAVID A. RUIZ

    vs.
                                                   NOTICE OF VOLUNTARY DISMISSAL
    United States of America

           Defendant

          Pursuant to Federal Rule 41(a)(1)(A), Plaintiff voluntarily dismisses this action without

   prejudice.



                                       Respectfully submitted,

                                       /s/ Herbert L. Nussle
                                       ___________________________
                                       Herbert L. Nussle (0063551)
                                       KEIS | GEORGE llp
                                       55 Public Square, #1900
                                       Cleveland, Ohio 44113
                                       216-241-4100/Fax: 216-771-3111
                                       Email: hnussle@keisgeorge.com
                                       Attorney for Plaintiff
